                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                         CIVIL ACTION NO. 5:21-CV-00146-D

  TIMOTHY NOONEY,                                   )
                                                    )
                 Plaintiff,                         )
         v.                                         )
                                                    )
                                                    )
  FARRIOR CORPORATION and                           )
  MARK FARRIOR,                                     )
                                                    )
                 Defendants.                        )


        ORDER GRANTING JOINT MOTION TO STAY PENDING MEDIATION

        The Parties having agreed pursuant to the Joint Motion to Stay Pending Mediation for

purposes of pursuing settlement and other good cause appearing:

        IT IS HEREBY ORDERED that this litigation (including Defendants' deadline to

Answer or otherwise respond to Plaintiffs Amended Complaint) is STAYED for 150 days; and

        IT IS FURTHER ORDERED that Defendants shall provide Plaintiff the agreed-upon

data and information set forth in Section V of the Parties' Joint Motion within 60 days of the date

of this Order; and

        IT IS FURTHER ORDERD that the Parties shall mediate or engage in other good-faith

negotiations within 60 days following Plaintiffs receipt of the information provided in Section V

 of the Parties' Joint Motion; and

        IT IS FURTHER ORDERED that all further agreements between the Parties set forth in

· their Joint Motion are APPROVED and it is ORDERED that the Parties shall adhere thereto,

 subject to further order of the Court.




          Case 5:21-cv-00146-D Document 15 Filed 10/19/21 Page 1 of 2
SO ORDERED, this _ _ day of October, 2021.




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                                UNITED STATES DISTRICT JUDGE




  Case 5:21-cv-00146-D Document 15 Filed 10/19/21 Page 2 of 2
